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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 LUKE COMBS,

        Plaintiff,                                          Case No. 1:23-cv-14485

   v.                                                       Judge Elaine E. Bucklo

 THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Sheila M. Finnegan
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                    NOTICE OF MOTION

        PLEASE TAKE NOTICE that on Wednesday, November 15, 2023, at 9:45 a.m.,

Plaintiff, by Plaintiff’s counsel, shall appear by remote means, before the Honorable Elaine E.

Bucklo, for the U.S. District Court for the Northern District of Illinois, and present Plaintiff’s

Motion for Entry of Default Judgment against the Defendants Identified in First Amended

Schedule A.

        Appearances in Court will not be required and the Court will rule by written order. The

presentment date is for tracking purposes only.

DATED: November 10, 2023                            Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    33 West Jackson Boulevard, #2W
                                                    Chicago, Illinois 60604
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                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF
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                               CERTIFICATE OF SERVICE

        I hereby certify that on November 10, 2023, I will electronically file the foregoing with
the Clerk of the Court using the CM/ECF system, I will electronically publish the documents on
a website, and I will send an e-mail to the e-mail addresses identified in Exhibit 2 to the
Declaration of Christopher T. Kappy and any e-mail addresses provided for Defendants by third
parties that includes a link to said website.

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt




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